      19-01294-scc       Doc 2     Filed 06/07/19       Entered 06/07/19 13:47:28          Summons        Pg 1
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                              UNITED STATES BANKRUPTCY COURT
                                   Southern District of New York
In re: Perforadora Oro Negro, S. de R.L. de C.V.                                                Bankruptcy Case No.:
                                                                                                      18−11094−scc

Gonzalo Gil−White PERSONALLY AND IN HIS CAPACITY AS FOREIGN
REPRESENTATIVE OF PERFORADORA ORO NEGRO, S. DE R.L. DE C.V. AND
INTEGRADORA DE SERVICIOS PETROLEROS ORO NEGRO, S.A.P.I. DE C.V.
                                         Plaintiff(s),
                                                                                                Adversary Proceeding
−against−                                                                                         No. 19−01294−scc
Alp Ercil
Alterna Capital Partners, LLC
AMA Capital Partners, LLC
Andres Constantin Antonius−Gonzlez
Asia Research And Capital Management Ltd.
CQS (Uk) LLP
Fintech Advisory, Inc.
Deutsche Bank Mexico, S.A.
Institucion De Banca Multiple
Garcia Gonzalez Y Barradas Abogados, S.C.
GHL Investments (Europe) Ltd.
John Fredriksen
Kristan Bodden
Maritime Finance Company Ltd.
Noel Blair Hunter Cochrane, Jr
Oro Negro Primus Pte., Ltd.
Oro Negro Laurus Pte., Ltd.
Oro Negro Fortius Pte., Ltd.
Oro Negro Decus Pte., Ltd.
Oro Negro Impetus Pte., Ltd.
Paul Matison Leand, Jr.
Roger Alan Bartlett
Roger Arnold Hancock
Seadrill Limited
Ship Finance International Ltd.
Does 1−100
                                                    Defendant(s)

                    SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                          IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that
the United States and its offices and agencies shall submit a motion or answer to the complaint within 35 days, to:

Address of Clerk:
                                                        Clerk of the Court
                                                        United States Bankruptcy Court
                                                        Southern District of New York
                                                        One Bowling Green
                                                        New York, NY 10004−1408
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.
Name and Address of Plaintiff's Attorney:
                                                   Gabriel Fernando Soledad
                                                   Quinn Emanuel Urquhart & Sullivan LLP
                                                   1300 I Street NW
                                                   Suite 900
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                                                  Washington, DC 20005
If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be
held at the following time and place:
United States Bankruptcy Court                                   Room: Courtroom 623 (SCC), One Bowling
Southern District of New York                                    Green, New York, NY 10004−1408
One Bowling Green
New York, NY 10004−1408                                          Date and Time: 7/30/19 at 11:00 AM
IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.


Dated: 6/7/19                                            Vito Genna

                                                         Clerk of the Court

                                                         By: /s/ Carmen Ortiz

                                                         Deputy Clerk
